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                 EXHIBIT C
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DeBruin, David W.

From:                             Ross, Trini (USANYW) <Trini.Ross@usdoj.gov>
Sent:                             Friday, January 7, 2022 11:48 AM
To:                               DeBruin, David W.
Cc:                               Kresse, MaryEllen (USANYW); Rodriguez, Everardo (USANYW); Sroka, Scott (USANYW);
                                  Ippolito, Russell (USANYW)
Subject:                          RE: Cayuga Nation application for Special Law Enforcement Commissions


External Email – Exercise Caution
Hello David.
I am working through these issues and it has come to my attention that there are two groups within the Cayuga Nation
claiming to be the leaders of the Nation. Until this is resolved I am unable to support either group.
As I work through this critical issue, I am unable to meet with either group, including the one you represent, nor can I
support either groups efforts.
Our relationship with the Cayuga Nation is an important and essential one to this office and the District. Know that I, and
others in my office, are working to obtain the guidance and information necessary to establish communication and a
meaningful relationship with the Nation.
We appreciate your understanding and hope to have a resolution soon so we can move forward and commence a strong
relationship.
Once the guidance we are seeking is provided I will be in touch.
Best,
Trini

From: DeBruin, David W. <DDeBruin@jenner.com>
Sent: Friday, January 7, 2022 11:33 AM
To: Ross, Trini (USANYW) <TRoss@usa.doj.gov>
Cc: Kresse, MaryEllen (USANYW) <MKresse@usa.doj.gov>; Rodriguez, Everardo (USANYW) <ERodriguez@usa.doj.gov>;
Fleming, Mary Pat (USANYW) <MFleming@usa.doj.gov>
Subject: [EXTERNAL] Cayuga Nation application for Special Law Enforcement Commissions

Good morning Ms. Ross and WDNY leadership team –

I hope the new year has gotten off to a good and healthy start for all of you. I am writing with regard
to a matter that may come to your attention. On October 26, 2021, the Cayuga Nation submitted an
application to the BIA for special law enforcement commissions (SLECs) for Cayuga Nation police
officers. As you may know, in 2019 BIA Director Darryl LaCounte affirmed in a letter to Seneca Falls
Police Chief Stuart Peenstra that the Cayuga Nation has the right to enforce Cayuga law on the Cayuga
reservation as to Cayuga members and other Indians through a law enforcement program. Many of
the Indian nations in New York have such a law enforcement program on their reservation lands. The
Cayuga Nation commissioned its police force in 2018, and the law enforcement program of the Nation
is highly professional: it consists of former NY state police, FBI, and other former local police officers
who average, among them, over 26 years of law enforcement experience. All of this is described in
the Nation’s application for the SLECs (and again, many of the Indian nations in New York have such
commissions for their police officers), which I have attached here. The Nation seeks through its police
force to enhance the stability and security of Nation citizens and activities on its reservation, and also
to assist and coordinate with its local communities. One of the critical features of the federal SLEC
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program is to allow better coordination and cooperation between tribal and local state/federal
police. For instance, if a Cayuga member were to call in a complaint of a burglary to the Cayuga
police, and a neighbor were to call in a similar complaint to local police, it is important that the tribal
and local police are aware of and can coordinate their responses: otherwise, one police authority
might mistake the other as the potential intruder.

I am writing because we understand that the BIA is processing our application, and may reach out to
your office for your views and comments. In that regard, the Cayuga Nation and its police
department leaders would be pleased to meet with you and answer any questions you may
have. Mark Lincoln, a former senior official with the NY state police, is the head of the Nation’s police
department; his deputy is Mike DuBois, who recently joined the department after serving for many
years with the FBI.

Given that the Nation has a recognized right to maintain a law enforcement program, we believe it is
vitally important for the Nation police to be able to work with and coordinate with other law
enforcement programs. That is the basis for the SLEC application. Please do not hesitate to let me
know if you have any questions, or if it would be helpful for you or others in your office to meet with
Mark Lincoln, Mike DuBois, or others involved with the Cayuga Nation law enforcement program.

Thank you,
David DeBruin

From: Ross, Trini (USANYW) <Trini.Ross@usdoj.gov>
Sent: Tuesday, November 9, 2021 9:29 AM
To: DeBruin, David W. <DDeBruin@jenner.com>
Cc: Kresse, MaryEllen (USANYW) <MaryEllen.Kresse@usdoj.gov>; Rodriguez, Everardo (USANYW)
<Everardo.Rodriguez@usdoj.gov>; Fleming, Mary Pat (USANYW) <Mary.Pat.Fleming@usdoj.gov>
Subject: RE: Cayuga Nation

Greetings David.
Thank you for your kind letter and the opportunity to meet with Mr. Halftown in his capacity as the Federal
Representative of the Cayuga Nation.
I have added my senior managers to this email since we should all be present at such meeting. Please let me know how
we can go about scheduling.
Looking forward to hearing from you.
Best,
Trini

Trini E. Ross
United States Attorney
Western District of New York
138 Delaware Avenue
Buffalo, New York 14202
(716) 843-5822




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From: DeBruin, David W. <DDeBruin@jenner.com>
Sent: Tuesday, November 9, 2021 10:52 AM
To: Ross, Trini (USANYW) <TRoss@usa.doj.gov>
Subject: [EXTERNAL] Cayuga Nation

Dear US Attorney Ross:

Please see attached letter.

Respectfully,
David W. DeBruin




David W. DeBruin

Jenner & Block LLP
1099 New York Avenue, N.W.
Suite 900, Washington, DC 20001-4412 | jenner.com
+1 202 639 6015 | TEL
+1 240 997 6891 | MOBILE
DDeBruin@jenner.com
Download V-Card | View Biography

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